Case 3:18-md-02843-VC Document 25 Filed 06/21/18 Page 1of 3

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June 21, 2018

The Honorable Vince Chhabria
United States District Court for the
Northern District of California

450 Golden Gate Avenue
San Francisco, California 94102

RE: In Re Facebook, Inc., Consumer Privacy User Profile Litigation
MDL No. 2843/Case No. 18-md-02843-VC

Your Honor:

I respectfully submit this application for appointment as lead or co-lead counsel in Jn Re:
Facebook, Inc., Consumer Privacy User Profile Litigation (“Matter”). This Matter will involve
up to 87 million Plaintiffs and require a lead attorney who can bring (i) extensive experience in
complex and novel class actions (including data breach class actions), mass torts and bet-the-
company civil litigation; (ii) a fresh perspective to class action litigation; and (iii) a history of
cooperation and commitment. As lead counsel, I will bring all of these to this Matter.

In addition, I will bring the diversity and fresh perspective so sorely lacking in the current
MDL leadership bar. Historically, more than 60% of the available MDL leadership positions are
awarded to repeat players. It is thus not surprising that MDL leadership panels suffer from a
profound shortage of diversity. In 2010, Judge Harold Baer, Jr. noted the importance of diversity
in lead counsel appointments in Jn re Gildan Activewear Inc. Securities Litigation. Since then,
more and more courts, legal scholars, legal and judicial organizations, and observers have urged
courts to make diverse lead counsel appointments in class action and multi-district litigation—
and, in the process, to bring forward new faces of different backgrounds and perspectives to the
MDL bar. Appointing me as lead counsel for the Plaintiffs would allow the Court to do just that.

History of Success in Data Breach Cases, Complex and Novel Class Actions and Mass Torts

I have been the managing partner of Murphy, Falcon & Murphy, a singular collection of
elite trial lawyers, since 1999. An African-American owned firm, Murphy, Falcon & Murphy
was founded in Baltimore City over 70 years ago by my grandfather, Judge William H. Murphy,
Sr. With my leadership over the past two decades, we have established a unique track record of
success - with over $850 million in verdicts and settlements in courts around the country,
including a $276 million verdict against a major national bank that included the largest punitive
damages award in Maryland history at that time; a $185 million settlement against Ernst &
Young, the largest single-defendant settlement in Maryland history at that time; a $55 million
class action settlement on behalf of a community whose ground water had been contaminated by
fly ash; and a $50 million settlement on behalf of a class and individuals who had unnecessary
stents implanted at a local hospital in Baltimore.

I have also served as defense counsel in national consumer fraud and employment class
actions and in products liability MDLs, providing me with a unique understanding of corporate

ONE SOUTH STREET, 23r0 FLOOR, BALTIMORE, MD 21202 - 800.227.0150 - T: 410.539.6500 - F: 410.539.6599

 
Case 3:18-md-02843-VC Document 25 Filed 06/21/18 Page 2 of 3
The Honorable Vince Chhabria
June 21, 2018
Page 2

perspectives, priorities, and goals in litigations like this one. Notably, H&R Block initially hired
me as local counsel in a consumer fraud class action that was filed in Baltimore. Soon thereafter,
I was elevated to lead H&R Block’s defense of multiple class actions in multiple jurisdictions as
national coordinating counsel. That litigation covered a variety of claims related to H&R Block’s
Refund Anticipation Loans (“RAL”) program. As national coordinating counsel, I managed
discovery, opposed class certification in all cases, prepared all cases for trial, forged creative
settlement solutions, and spearheaded settlement negotiations in an ever-shifting procedural
landscape. I was responsible for managing and coordinating the efforts of multiple national law
firms across the country, as well as negotiating and working closely with numerous plaintiffs’
counsel. In that role, I was able to efficiently, cooperatively, and effectively resolve tens of
millions of claims in federal and state courts in more than six jurisdictions. The extent and
breadth of my experience leading the defense of complex multi-jurisdictional matters have
significantly informed my representation of plaintiffs.

In addition, I have not only led complex and mass tort litigation, I have played an integral
role in leading data breach litigation nationwide. This past winter, I had the honor of being
appointed to the Plaintiffs’ Steering Committee in In Re: Equifax, Inc., MDL No. 2800 (N.D.
Ga.) by the Honorable Thomas W. Thrash. This experience will serve as the foundation for my
leadership of Plaintiffs’ counsel in this very case.

Bringing a Fresh Perspective

Diversity in class action and multi-district leadership is not just a matter of historical
equity; it is also a question of properly representing the interests of the Plaintiffs themselves.
Selecting a person of color and a diverse, minority owned firm to lead this litigation should be
given special consideration given the homogenous landscape of lead counsel in nationwide
MDLs. In addition, the diverse perspectives and skills offered by attorneys and firms with varied
social, legal, and ethnic backgrounds helps Plaintiffs secure the representation that reflects all of
them. Complex cases are a microcosm of a diverse nation.

The class members victimized by Facebook’s conduct are members of all fifty states and
are diverse as to race, ethnicity, socio-economic status, gender, sexual orientation and gender
identity. In many instances, they were targeted based on race, gender and political leanings. A
similar level of diversity in their legal counsel is necessary to increase innovation, boost creative
thinking, and reduce the likelihood of decision-making biases and collusive settlements, all of
which are associated with repeat class action players. In short, the diverse perspectives that come
from diverse counsel is in the best interests of the members of the class.

As a 100% minority owned firm, Murphy, Falcon & Murphy has built its reputation on
fighting for the rights of the underrepresented and underprivileged. The firm’s attorneys come
from varied social, legal, and ethnic backgrounds and work collaboratively so as to ensure that
each differing perspective is considered and marshaled for the client’s benefit. Our innovative
thinking, diversity of perspective, and creative approach—skills and attributes that we bring to
every case we pursue—are unmatched and are the reason for our continued success. Throughout
my career, I have brought new and innovative solutions to the table that have been informed by
my diversity and will do so here.
Case 3:18-md-02843-VC Document 25 Filed 06/21/18 Page 3 of 3
The Honorable Vince Chhabria
June 21, 2018
Page 3

Cooperation and Commitment

My firm has sufficient financial resources, experience, and manpower, and I am willing
and able to fully commit to the prosecution of this Matter. I frequently pursue complex, time-
consuming cases that require significant financial resources and will do so here.

My extensive experience in class action and mass tort litigation on both sides of the table,
my prominent involvement in data breach litigation, and the unique perspective and approach
that I and my diverse firm bring to the cases we pursue, have all served to win me the support of
many prominent lawyers in the class action and data breach bar. Lawyers like Eric Gibbs,
Michael Sobel, Linda Dardarian, Norman Siegel, and April Doss have all rallied to the support of
this petition. They know that I am one of the foremost plaintiffs’ attorneys in mass tort, class
action and plaintiffs’ litigation—and that I bring a new face and fresh perspective to this case. I
am humbled to have their support and am proud to reciprocate my support for their petitions for
lead counsel. The effective prosecution of this matter depends on the collaboration of diverse and
dedicated firms. It is essential that lead counsel and any supporting committee forge a strategy to
obtain an optimal, just, and meaningful resolution of this multi-faceted case. The Court’s
leadership appointments can and will provide an opportunity for firms to collaborate and develop
broad agreement for effective resolution. I am a proponent of an experienced, broad, diverse and
inclusive leadership team that will advance the interests of the Class, and I have a track record of
results within the spirit of collaboration and team work. I would be deeply honored to join such a
leadership structure.

By selecting a diverse, deeply experienced, highly effective, and powerful new face to
lead this litigation, this Court will best serve the potential Plaintiffs in this Matter. Such lead
counsel would be backed by several of the most powerful, varied, intelligent, and incisive voices
in data privacy and class action litigation, and would come with decades of experience leading
complex litigation and taking on the largest of corporations on behalf of Plaintiffs. By appointing
me as lead or co-lead counsel in this matter, this Court can change the face of data breach class
action litigation, provide Plaintiffs with a strong advocate to lead their cause, and pave the path
for other trailblazers in future litigation. Courts have long promised that there would come a day
when the leadership of class action litigation would begin to reflect the diversity and richness of
America without compromising excellence or experience. I would be honored if this Court
would make good on that promise by appointing me as lead or co-lead counsel or as a member of
the Executive Committee in this Matter.

Respectfully submitted,

William H. Murphy III
